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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



IN RE: CHRYSLER PACIFICA FIRE RECALL
PRODUCTS LIABILITY LITIGATION                               Case Number 22-3040
                                                            Honorable David M. Lawson
                  MDL No. 3040
________________________________________/

                        ORDER EXTENDING TIME TO ANSWER

       Pursuant to the stipulation of the parties (ECF No. 68),

       It is ORDERED that the defendant’s answer to the plaintiffs’ consolidated master

complaint must be filed on or before January 9, 2024.

       It is further ORDERED that all other provisions of the previously issued case management

and scheduling orders, as amended, remain in full force and effect.

                                                            s/David M. Lawson
                                                            DAVID M. LAWSON
                                                            United States District Judge

Dated: December 20, 2023
